 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 DISTRICT OF KANSAS

 Case number (if known):                                       Chapter you are filing under:
                                                                         Chapter 7
                                                                         Chapter 11
                                                                         Chapter 12
                                                                                                                            Check if this is an
                                                                         Chapter 13
                                                                                                                            amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                          12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                        About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                        John
     government-issued picture
                                        First Name                                             First Name
     identification (for example,
     your driver's license or           Leonard
     passport).                         Middle Name                                            Middle Name

                                        Lentell
     Bring your picture                 Last Name                                              Last Name
     identification to your meeting
     with the trustee.                  Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8            First Name                                             First Name
     years
                                        Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                        Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security               xxx – xx –                   6        7       4    0   xxx – xx –
     number or federal                  OR                                                     OR
     Individual Taxpayer
     Identification number              9xx – xx –                                             9xx – xx –
     (ITIN)




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
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Debtor 1     John Leonard Lentell                                                                Case number (if known)

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                         I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in             Business name                                                Business name
     the last 8 years
                                        Business name                                                Business name
     Include trade names and
     doing business as names
                                        Business name                                                Business name

                                                     –                                                           –
                                        EIN                                                          EIN

                                                     –                                                           –
                                        EIN                                                          EIN
5.   Where you live                                                                                  If Debtor 2 lives at a different address:

                                        2844 W 138th Terrace
                                        Number       Street                                          Number      Street




                                        Leawood                         KS       66224
                                        City                            State    ZIP Code            City                           State    ZIP Code

                                        Johnson
                                        County                                                       County

                                        If your mailing address is different from                    If Debtor 2's mailing address is different
                                        the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                        court will send any notices to you at this                   will send any notices to you at this mailing
                                        mailing address.                                             address.



                                        Number       Street                                          Number      Street


                                        P.O. Box                                                     P.O. Box


                                        City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing               Check one:                                                   Check one:
     this district to file for
     bankruptcy                                 Over the last 180 days before filing this                   Over the last 180 days before filing this
                                                petition, I have lived in this district longer              petition, I have lived in this district longer
                                                than in any other district.                                 than in any other district.

                                                I have another reason. Explain.                             I have another reason. Explain.
                                                (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the               Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you              for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                     Chapter 7

                                               Chapter 11

                                               Chapter 12

                                               Chapter 13



Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                            page 2
                                 Case 18-22492      Doc# 1 Filed 12/02/18 Page 2 of 95
Debtor 1     John Leonard Lentell                                                    Case number (if known)

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                       court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                       pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                       behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                       Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                       By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                       than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                       fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                       Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                No
     bankruptcy within the
     last 8 years?                     Yes.

                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY
                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY

                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY

10. Are any bankruptcy                 No
    cases pending or being
    filed by a spouse who is           Yes.
    not filing this case with
                                  Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an             District                                               When                    Case number,
    affiliate?                                                                                  MM / DD / YYYY   if known


                                  Debtor                                                             Relationship to you

                                  District                                               When                    Case number,
                                                                                                MM / DD / YYYY   if known

11. Do you rent your                   No.    Go to line 12.
    residence?                         Yes. Has your landlord obtained an eviction judgment against you?

                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                   and file it as part of this bankruptcy petition.




Official Form 101                    Voluntary Petition for Individuals Filing for Bankruptcy                                             page 3
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Debtor 1     John Leonard Lentell                                                      Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                             page 4
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Debtor 1     John Leonard Lentell                                                        Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


Official Form 101                    Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1     John Leonard Lentell                                                      Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                            page 6
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Debtor 1     John Leonard Lentell                                                    Case number (if known)


 Part 7:      Sign Below
For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                and correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                X /s/ John Leonard Lentell                                  X
                                    John Leonard Lentell, Debtor 1                              Signature of Debtor 2

                                    Executed on 12/02/2018                                      Executed on
                                                MM / DD / YYYY                                                MM / DD / YYYY




Official Form 101                  Voluntary Petition for Individuals Filing for Bankruptcy                                                page 7
                           Case 18-22492      Doc# 1 Filed 12/02/18 Page 7 of 95
Debtor 1     John Leonard Lentell                                                        Case number (if known)

For your attorney, if you are        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                   eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                     relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by        the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need         certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                   is incorrect.



                                     X /s/ Rachel Lynn Foley                                               Date 12/02/2018
                                        Signature of Attorney for Debtor                                        MM / DD / YYYY


                                        Rachel Lynn Foley
                                        Printed name
                                        Foley Law
                                        Firm Name
                                        4016 S. Lynn Court Drive, Ste. B
                                        Number          Street




                                        Independence                                               MO              64055
                                        City                                                       State           ZIP Code


                                        Contact phone (816) 472-4357                     Email address clients@kcbankruptcy.com


                                        47121                                                      MO
                                        Bar number                                                 State




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                               page 8
                                Case 18-22492      Doc# 1 Filed 12/02/18 Page 8 of 95
  Fill in this information to identify your case and this filing:
  Debtor 1               John                        Leonard              Lentell
                         First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: DISTRICT OF KANSAS

  Case number
                                                                                                                                    Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
2844 W 138th Terrace                                       Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
Leawood                          KS       66224                Manufactured or mobile home                               $670,000.00                  $670,000.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
Johnson                                                                                                      entireties, or a life estate), if known.
                                                               Other
County
                                                                                                             JTBE
                                                           Who has an interest in the property?
Highlands Ranch 2nd Plat LT 116 LWC
                                                           Check one.
562A 116
                                                               Debtor 1 only                                      Check if this is community property
                                                               Debtor 2 only                                      (see instructions)
Stucco needs significant work on the
home as it is starting to buckle.                              Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another
Basement leaks.
                                                           Other information you wish to add about this item, such as local
                                                           property identification number:
Roof needs to be replaced.
2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $670,000.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes



Official Form 106A/B                  Case 18-22492                Doc#  1 A/B:
                                                                     Schedule Filed  12/02/18
                                                                                  Property                        Page 9 of 95                               page 1
Debtor 1     John Leonard Lentell                                                 Case number (if known)


3.1.                                       Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  Ford                Check one.                                 amount of any secured claims on Schedule D:
                                              Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                 Excursion Limited
                                              Debtor 2 only                           Current value of the      Current value of the
Year:                  2001
                                              Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 350,000                  At least one of the debtors and another                $200.00                  $200.00
Other information:
2001 FORD EXCURSION LIMITED                   Check if this is community property
VIN 1FMNU43S51EC96969                         (see instructions)

This vehicle has been inoperable for a
year and a half. The cost to repair far
exceeds any value. This vehicle is
going to be donated to charity.

Scrap value

Rusted and floorboard is falling apart




Official Form 106A/B          Case 18-22492       Doc# 1 Filed
                                                    Schedule        12/02/18
                                                             A/B: Property               Page 10 of 95                           page 2
Debtor 1         John Leonard Lentell                                                                Case number (if known)


3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Nissan                       Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Pathfinder
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2013
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 70,000                                 At least one of the debtors and another            $13,000.00                           $13,000.00
Other information:
2013 NISSAN PATHFINDER                                      Check if this is community property
S/SV/SL/PLATIN (approx. 70,000 miles)                       (see instructions)
VIN 5N1AR2MM0DC663300
good condition

2013 Nissan Pathfinder Prices and
Values
Utility 4D S 2WD

Rough
Trade-In
Average
Trade-In
Clean
Trade-In
Clean
Retail
Base Price
$8,550
$9,700
$10,625
$13,650
Mileage (70,000)
$600
$600
$600
$600
Total Base Price
$9,150
$10,300
$11,225
$14,250
Options (add)
Price + Options
$9,150
$10,300
$11,225
$14,250
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $13,200.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.


Official Form 106A/B             Case 18-22492                  Doc# 1 Filed
                                                                  Schedule        12/02/18
                                                                           A/B: Property                      Page 11 of 95                                page 3
Debtor 1       John Leonard Lentell                                                        Case number (if known)

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Misc items                                                                            $5,245.00
                                2 Sofas, 2 Love Seats,, Stereo, End Tables, Kitchen Table/Chairs, Dining
                                Table/Chairs, China Cabinet, Refrigerator/Freezer, Freezer (40 yrs),
                                Stove/Range, Microwave, Dishwasher, Washing Machine, Clothes Dryer,
                                Dishes/Flatware, China/Silverware, Pots/Pans/Cookware, 3 Beds (2 old metal
                                frames), Dressers/Night Stands, Lamps/Accessories, Yard/Landscaping
                                Tools, Piano
7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Electronics                                                                            $500.00
                                misc items
                                2 Flat Screen Televisions, DVD Player, Computer/Printer (old laptop)
8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
                               Misc Items - he has some baseball cards, not perserved and no COAs and                 $200.00
                                purchased at a rummage sale for about $20.

                                Maybe worth $200 but not sure.
9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               2 Adults                                                                               $275.00
                                1 Child
12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
           No
           Yes. Describe............
                               Wedding Ring, glasses, misc items                                                      $500.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
           No
           Yes. Describe............
                               Dog - Lab Mix                                                                            $0.00
                                Dog - Chocolate Lab

                                No value




Official Form 106A/B             Case 18-22492            Doc# 1 Filed
                                                            Schedule        12/02/18
                                                                     A/B: Property                 Page 12 of 95         page 4
Debtor 1          John Leonard Lentell                                                                                              Case number (if known)

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................
                                      Books, Family Pictures, Art Objects, Compact Discs, DVD's, Records, Tapes                                                                                             $750.00

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                   $7,470.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
                                                                                                                                                                                                                   $100.00
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.       Checking account:                      Commerce Bank
                                                                Acct. #7807


                                                                w/ wife                                                                                                                                 $2,841.43
             17.2.       Checking account:                      Bank of America
                                                                Acct. #6010


                                                                w/ wife                                                                                                                                 $5,781.27
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
            No
            Yes. Give specific
            information about
            them...............................................
                                               Name of entity:                                                                                          % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific
            information about
            them...............................................
                                               Issuer name:




Official Form 106A/B                      Case 18-22492                            Doc# 1 Filed
                                                                                     Schedule        12/02/18
                                                                                              A/B: Property                                     Page 13 of 95                                                     page 5
Debtor 1         John Leonard Lentell                                                                 Case number (if known)

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:            Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                      Federal:
           about them, including whether
           you already filed the returns                                                                                       State:
           and the tax years.....................................
                                                                                                                               Local:




Official Form 106A/B                    Case 18-22492                    Doc# 1 Filed
                                                                           Schedule        12/02/18
                                                                                    A/B: Property            Page 14 of 95                                page 6
Debtor 1         John Leonard Lentell                                                                                Case number (if known)

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information                                                                                            Alimony:

                                                                                                                                      Maintenance:

                                                                                                                                      Support:

                                                                                                                                      Divorce settlement:

                                                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:

                                                  MetLife
                                                  Term Life Insurance                                           Michelle Lentell                                               $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information Mother is a widow. Debtor is newly listed on her accounts at the                                                                    $0.00
                                                       bank and Edward Jones.

                                                       He has not used these accounts for his personal business.
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................    $8,722.70


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.




Official Form 106A/B                  Case 18-22492                       Doc# 1 Filed
                                                                            Schedule        12/02/18
                                                                                     A/B: Property                             Page 15 of 95                                    page 7
Debtor 1         John Leonard Lentell                                                                                Case number (if known)

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................
                              Desk & Chair (1 chair, 2 15+ y/o desks poor condition)                                                                                         $345.00
                                   Bookcase (pressboard, 15 y/o)
                                   File Cabinets (1 wood, 6 metal)
                                   Laptops & Monitor
                                   iPad
40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................       $345.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                  Case 18-22492                       Doc# 1 Filed
                                                                            Schedule        12/02/18
                                                                                     A/B: Property                             Page 16 of 95                                     page 8
Debtor 1          John Leonard Lentell                                                                               Case number (if known)

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                     Case 18-22492                    Doc# 1 Filed
                                                                            Schedule        12/02/18
                                                                                     A/B: Property                             Page 17 of 95                                     page 9
Debtor 1           John Leonard Lentell                                                                                       Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $670,000.00

56. Part 2: Total vehicles, line 5                                                                                  $13,200.00

57. Part 3: Total personal and household items, line 15                                                               $7,470.00

58. Part 4: Total financial assets, line 36                                                                           $8,722.70

59. Part 5: Total business-related property, line 45                                                                     $345.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $29,737.70              property total                 +           $29,737.70



63. Total of all property on Schedule A/B.                                                                                                                                                  $699,737.70
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                     Case 18-22492                          Doc# 1 Filed
                                                                                  Schedule        12/02/18
                                                                                           A/B: Property                                 Page 18 of 95                                        page 10
 Fill in this information to identify your case:
 Debtor 1            John                 Leonard                Lentell
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: DISTRICT OF KANSAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:       Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
                                  Case 18-22492           Doc# 1           Filed 12/02/18          Page 19 of 95
Debtor 1      John Leonard Lentell                                                   Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of     Amount of the              Specific laws that allow exemption
Schedule A/B that lists this property               the portion you      exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $200.00                  $200.00           Kan Stat. Ann. § 60-2304(c)
2001 Ford Excursion Limited (approx.                                         100% of fair market
350,000 miles)                                                               value, up to any
2001 FORD EXCURSION LIMITED                                                  applicable statutory
VIN 1FMNU43S51EC96969                                                        limit

This vehicle has been inoperable for a year
and a half. The cost to repair far exceeds
any value. This vehicle is going to be
donated to charity.

Scrap value

Rusted and floorboard is falling apart
Line from Schedule A/B: 3.1

Brief description:                                      $5,245.00                $5,245.00          Kan Stat. Ann. § 60-2304(a)
Misc items                                                                   100% of fair market
2 Sofas, 2 Love Seats,, Stereo, End Tables,                                  value, up to any
Kitchen Table/Chairs, Dining Table/Chairs,                                   applicable statutory
China Cabinet, Refrigerator/Freezer,                                         limit
Freezer (40 yrs), Stove/Range, Microwave,
Dishwasher, Washing Machine, Clothes
Dryer, Dishes/Flatware, China/Silverware,
Pots/Pans/Cookware, 3 Beds (2 old metal
frames), Dressers/Night Stands,
Lamps/Accessories, Yard/Landscaping
Tools, Piano
Line from Schedule A/B:  6

Brief description:                                       $500.00                  $500.00           Kan Stat. Ann. § 60-2304(a)
Electronics                                                                  100% of fair market
misc items                                                                   value, up to any
2 Flat Screen Televisions, DVD Player,                                       applicable statutory
Computer/Printer (old laptop)                                                limit
Line from Schedule A/B:  7

Brief description:                                       $275.00                  $275.00           Kan Stat. Ann. § 60-2304(a)
2 Adults                                                                     100% of fair market
1 Child                                                                      value, up to any
Line from Schedule A/B:    11                                                applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Kan Stat. Ann. § 60-2304(b)
Wedding Ring, glasses, misc items                                            100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
                            Case 18-22492              Doc# 1          Filed 12/02/18        Page 20 of 95
Debtor 1      John Leonard Lentell                                                   Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of     Amount of the              Specific laws that allow exemption
Schedule A/B that lists this property               the portion you      exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $750.00                  $750.00           Kan Stat. Ann. § 60-2304(a)
Books, Family Pictures, Art Objects,                                         100% of fair market
Compact Discs, DVD's, Records, Tapes                                         value, up to any
Line from Schedule A/B: 14                                                   applicable statutory
                                                                             limit

Brief description:                                       $345.00                  $345.00           Kan Stat. Ann. § 60-2304(a)
Desk & Chair (1 chair, 2 15+ y/o desks                                       100% of fair market
poor condition)                                                              value, up to any
Bookcase (pressboard, 15 y/o)                                                applicable statutory
File Cabinets (1 wood, 6 metal)                                              limit
Laptops & Monitor
iPad
Line from Schedule A/B:  39




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
                            Case 18-22492              Doc# 1          Filed 12/02/18        Page 21 of 95
                                 UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF KANSAS
                                       KANSAS CITY DIVISION
 IN RE:   John Leonard Lentell                                           CASE NO

                                                                         CHAPTER    13

                                    TOTALS BY EXEMPTION LAW


Exemption Law                      Husband      Wife       Joint       Community    N/A          Exemption    Market
                                                                                                   Total      Value
                                                                                                               Total

Kan Stat. Ann. § 60-2304(a)         $1,370.00     $0.00    $5,745.00        $0.00        $0.00    $7,115.00   $7,115.00

Kan Stat. Ann. § 60-2304(b)          $500.00      $0.00       $0.00         $0.00        $0.00      $500.00    $500.00

Kan Stat. Ann. § 60-2304(c)            $0.00      $0.00     $200.00         $0.00        $0.00      $200.00    $200.00




                          Case 18-22492      Doc# 1    Filed 12/02/18      Page 22 of 95
  Fill in this information to identify your case:
  Debtor 1             John                  Leonard                Lentell
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: DISTRICT OF KANSAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                           $188,706.40             $670,000.00            $130,968.40
Internal Revenue Service
Creditor's name
                                                 2844 W 138th Terrace
Centralized Insolvency Operations
Number       Street
PO Box 7346
                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Philadelphia             PA      19101-7346          Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred           2008-2016       Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $188,706.40

Official Form 106D                  Case 18-22492       Doc# Who
                                          Schedule D: Creditors 1 Have
                                                                   Filed  12/02/18
                                                                       Claims Secured by Page
                                                                                         Property23 of 95                                         page 1
Debtor 1       John Leonard Lentell                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                               $1,428.21           $670,000.00         $1,428.21
Johnson County Wastewater                     2844 W 138th Terrace
Creditor's name
PO Box 219948
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Kansas City             MO      64121-9948        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Utilities
   to a community debt
Date debt was incurred          2018          Last 4 digits of account number
Utility Lien
  2.3                                         Describe the property that
                                              secures the claim:                           $612,262.00             $670,000.00
Rushmore Lms
Creditor's name
                                              2844 W 138th Terrace
Attn: Bankruptcy
Number     Street
PO Box 55004
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Irvine                  CA      92619             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Conventional Real Estate Mortgage
   to a community debt
Date debt was incurred          12/12/2003    Last 4 digits of account number        7     9    4    1
Millsap & Singer
US Bank National Association
MTGLQ Investors




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $613,690.21

Official Form 106D               Case   18-22492
                                 Additional             Doc#
                                            Page of Schedule     1 Filed
                                                             D: Creditors Who12/02/18      Pageby24
                                                                             Have Claims Secured     of 95
                                                                                                  Property                                page 2
Debtor 1      John Leonard Lentell                                                        Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                           $143,014.75             $143,014.75
Rushmore Lms                                  2844 W 138th Terrace
Creditor's name
Attn: Bankruptcy
Number     Street
PO Box 55004
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Irvine                  CA      92619             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Arrearage claim
   to a community debt
Date debt was incurred          Various       Last 4 digits of account number        7     9    4    1
Per Dec 2018 Statement
  2.5                                         Describe the property that
                                              secures the claim:                            $22,400.00              $13,000.00         $9,400.00
Santander Consumer USA
Creditor's name
                                              2013 Nissan Pathfinder
Attn: Bankruptcy                              (approx. 70,000 miles)
Number     Street
PO Box 961245
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Fort Worth              TX      76161             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred          12/1/2015     Last 4 digits of account number        1     0    0    0




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $165,414.75

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $967,811.36

Official Form 106D               Case   18-22492
                                 Additional             Doc#
                                            Page of Schedule     1 Filed
                                                             D: Creditors Who12/02/18      Pageby25
                                                                             Have Claims Secured     of 95
                                                                                                  Property                                page 3
Debtor 1       John Leonard Lentell                                                    Case number (if known)

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        IRS                                                                    On which line in Part 1 did you enter the creditor?      2.1
        Name
        Bankruptcy Unit                                                        Last 4 digits of account number
        Number       Street
        M/S 5334-LSM
        2850 NE Independence Ave, STE 101
        Lees Summit                              MO       64064-2327
        City                                     State    ZIP Code

  2
        US Attorney                                                            On which line in Part 1 did you enter the creditor?      2.1
        Name
        Attn: Bankruptcy Processing Clerk                                      Last 4 digits of account number
        Number       Street
        500 State Ave # 360


        Kansas City                              KS       66101
        City                                     State    ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 4
                              Case 18-22492              Doc# 1       Filed 12/02/18           Page 26 of 95
  Fill in this information to identify your case:
  Debtor 1             John                  Leonard                Lentell
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: DISTRICT OF KANSAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $55,796.14         $55,796.14                 $0.00
Internal Revenue Service
Priority Creditor's Name                                   Last 4 digits of account number        6     7    4      0
Centralized Insolvency Operations                          When was the debt incurred?          2008-2016
Number       Street
P.O. Box 7346                                              As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Philadelphia                    PA       19101-7346            Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                Case 18-22492      Doc#
                                             Schedule E/F:     1 Who
                                                           Creditors Filed 12/02/18
                                                                         Have            Page 27 of 95
                                                                              Unsecured Claims                                                       page 1
Debtor 1       John Leonard Lentell                                                   Case number (if known)

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                     Total claim       Priority           Nonpriority
previous page.                                                                                                  amount             amount


   2.2                                                                                         $22,898.41          $22,898.41             $0.00
Internal Revenue Service
Priority Creditor's Name                            Last 4 digits of account number       6     7    4      0
Centralized Insolvency Operations                   When was the debt incurred?        2017
Number       Street
P.O. Box 7346                                       As of the date you file, the claim is: Check all that apply.
                                                        Contingent
                                                        Unliquidated
Philadelphia               PA      19101-7346           Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                   Type of PRIORITY unsecured claim:
     Debtor 1 only                                     Domestic support obligations
     Debtor 2 only                                     Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                        Claims for death or personal injury while you were
     At least one of the debtors and another           intoxicated
     Check if this claim is for a community debt       Other. Specify
Is the claim subject to offset?
     No
     Yes

   2.3                                                                                               $0.00                 $0.00          $0.00
Johnson County Treasurer
Priority Creditor's Name                            Last 4 digits of account number       0     1    1      6
111 S. Cherry St. Ste 1500                          When was the debt incurred?        2018
Number       Street
                                                    As of the date you file, the claim is: Check all that apply.
                                                        Contingent
                                                        Unliquidated
Olathe                     KS      66061                Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                   Type of PRIORITY unsecured claim:
     Debtor 1 only                                     Domestic support obligations
     Debtor 2 only                                     Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                        Claims for death or personal injury while you were
     At least one of the debtors and another           intoxicated
     Check if this claim is for a community debt       Other. Specify
Is the claim subject to offset?
     No
     Yes
Believes Mortgage company has paid real property tax




Official Form 106E/F        Case 18-22492      Doc#
                                     Schedule E/F:     1 Who
                                                   Creditors Filed 12/02/18
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                                                                      Unsecured Claims                                                    page 2
Debtor 1       John Leonard Lentell                                                   Case number (if known)

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                     Total claim       Priority       Nonpriority
previous page.                                                                                                  amount         amount


   2.4                                                                                           $3,389.00         $3,389.00          $0.00
Kansas Department of Revenue
Priority Creditor's Name                            Last 4 digits of account number       6     7    4      0
Civil Tax Enforcement/Banruptcy Dept.               When was the debt incurred?        2017
Number       Street
PO Box 12005                                        As of the date you file, the claim is: Check all that apply.
                                                        Contingent
                                                        Unliquidated
Topeka                     KS      66612                Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                   Type of PRIORITY unsecured claim:
     Debtor 1 only                                     Domestic support obligations
     Debtor 2 only                                     Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                        Claims for death or personal injury while you were
     At least one of the debtors and another           intoxicated
     Check if this claim is for a community debt       Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F        Case 18-22492      Doc#
                                     Schedule E/F:     1 Who
                                                   Creditors Filed 12/02/18
                                                                 Have            Page 29 of 95
                                                                      Unsecured Claims                                                page 3
Debtor 1       John Leonard Lentell                                                             Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $385.00
American Profit Recovery                                    Last 4 digits of account number         1 9        9     1
Nonpriority Creditor's Name
                                                            When was the debt incurred?           09/2016
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
34505 W 12 Mile Road #333                                       Contingent
                                                                Unliquidated
                                                                Disputed
Farmington Hills                MI      48331
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collection Attorney
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                        $27,856.00
Bank of Blue Valley                                         Last 4 digits of account number         0 3        1     7
Nonpriority Creditor's Name
                                                            When was the debt incurred?           03/2017
P.O. Box 26128
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Overland Park                   KS      66225-6128
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Line of Credit
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F             Case 18-22492      Doc#
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                                                        Creditors Filed 12/02/18
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                                                                           Unsecured Claims                                                           page 4
Debtor 1       John Leonard Lentell                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

   4.3                                                                                                                         $1,351.00
Central Credit Services, Inc.                        Last 4 digits of account number       7    9    5    5
Nonpriority Creditor's Name
                                                     When was the debt incurred?
9550 Regency Square Blvd
Number        Street                                 As of the date you file, the claim is: Check all that apply.
Suite #500                                               Contingent
                                                         Unliquidated
                                                         Disputed
Jacksonville                  FL      32239
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for -
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                         $2,761.45
Chase Bank Visa                                      Last 4 digits of account number      5 6        4    6
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2018
PO Box 15298
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Wilmington                    DE      19850
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Credit Card
Is the claim subject to offset?
     No
     Yes
Client Services Inc.
MRS BPO
Nationwide Credit




Official Form 106E/F           Case 18-22492      Doc#
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Debtor 1       John Leonard Lentell                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

   4.5                                                                                                                           $883.00
Dillards Card Srvs/Wells Fargo Bank Na               Last 4 digits of account number      6 4        6    3
Nonpriority Creditor's Name
                                                     When was the debt incurred?        07/1988
PO Box 10347
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Des Moines                    IA      50306
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Charge Account
Is the claim subject to offset?
     No
     Yes

   4.6                                                                                                                         $1,538.00
Discover Financial                                   Last 4 digits of account number      2 9        7    4
Nonpriority Creditor's Name
                                                     When was the debt incurred?        04/1995
PO Box 3025
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
New Albany                    OH      43054
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Credit Card
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                             $0.00
Federal Employees Cu                                 Last 4 digits of account number      0 0 5           6
Nonpriority Creditor's Name
                                                     When was the debt incurred?        08/15/1986
CommunityAmerica Credit Union/Attn: Bank
Number        Street                                 As of the date you file, the claim is: Check all that apply.
PO Box 15950                                             Contingent
                                                         Unliquidated
                                                         Disputed
Lenexa                        KS      66285
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       John Leonard Lentell                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

   4.8                                                                                                                         $1,082.40
Genesis Health Clubs Inc.                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2018
6100 East Central
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Wichita                       KS      67208
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Gym Membership
Is the claim subject to offset?
     No
     Yes
Sure Check Brokerage

   4.9                                                                                                                         $2,300.00
Jordan Schwartz Law Office                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
10955 Lowell Avenue
Number        Street                                 As of the date you file, the claim is: Check all that apply.
Suite 630                                                Contingent
                                                         Unliquidated
                                                         Disputed
Overland Park                 KS      66210
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Attorney
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F           Case 18-22492      Doc#
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                                                      Creditors Filed 12/02/18
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                                                                         Unsecured Claims                                          page 7
Debtor 1       John Leonard Lentell                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.10                                                                                                                         $1,648.00
Kansas Counselors Of Kansas                          Last 4 digits of account number      2 8        5    5
Nonpriority Creditor's Name
                                                     When was the debt incurred?        06/2015
Attn: Bankruptcy
Number        Street                                 As of the date you file, the claim is: Check all that apply.
PO BOX 14765                                             Contingent
                                                         Unliquidated
                                                         Disputed
Shawnee Mission               KS      66285
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collection Attorney
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                           $252.00
Laboratory Corp of America                           Last 4 digits of account number       0    2    8    0
Nonpriority Creditor's Name
                                                     When was the debt incurred?
PO Box 2240
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Burlington                    NC      27216-2240
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Services
Is the claim subject to offset?
     No
     Yes

  4.12                                                                                                                           $156.00
Laboratory Corp of America                           Last 4 digits of account number       0    9    8    0
Nonpriority Creditor's Name
                                                     When was the debt incurred?
PO Box 2240
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Burlington                    NC      27216-2240
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Services
Is the claim subject to offset?
     No
     Yes


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                                                      Creditors Filed 12/02/18
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Debtor 1       John Leonard Lentell                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.13                                                                                                                           $156.00
Laboratory Corp of America                           Last 4 digits of account number       0    0    8    0
Nonpriority Creditor's Name
                                                     When was the debt incurred?
PO Box 2240
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Burlington                    NC      27216-2240
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Services
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                           $177.81
Laboratory Corp of America                           Last 4 digits of account number       1    5    2    2
Nonpriority Creditor's Name
                                                     When was the debt incurred?
PO Box 2240
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Burlington                    NC      27216-2240
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Services
Is the claim subject to offset?
     No
     Yes

  4.15                                                                                                                           $372.00
Laboratory Corp of America                           Last 4 digits of account number       9    9    8    1
Nonpriority Creditor's Name
                                                     When was the debt incurred?
PO Box 2240
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Burlington                    NC      27216-2240
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Services
Is the claim subject to offset?
     No
     Yes


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                                        Schedule E/F:     1 Who
                                                      Creditors Filed 12/02/18
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Debtor 1       John Leonard Lentell                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.16                                                                                                                           $136.00
Laboratory Corp of America                           Last 4 digits of account number       9    9    9    6
Nonpriority Creditor's Name
                                                     When was the debt incurred?
PO Box 2240
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Burlington                    NC      27216-2240
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Services
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                         $1,344.00
Laboratory Corp of America                           Last 4 digits of account number       0    0    7    0
Nonpriority Creditor's Name
                                                     When was the debt incurred?
PO Box 2240
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Burlington                    NC      27216-2240
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Services
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F           Case 18-22492      Doc#
                                        Schedule E/F:     1 Who
                                                      Creditors Filed 12/02/18
                                                                    Have            Page 36 of 95
                                                                         Unsecured Claims                                         page 10
Debtor 1       John Leonard Lentell                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.18                                                                                                                           $275.18
National Scouting Report Inc.                        Last 4 digits of account number       2    0    0    4
Nonpriority Creditor's Name
                                                     When was the debt incurred?
128 Total Solutions Way
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Alabaster                     AL      35007
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       LOC
Is the claim subject to offset?
     No
     Yes
FBCS

  4.19                                                                                                                       $74,111.00
Navient                                              Last 4 digits of account number      0 3        1    0
Nonpriority Creditor's Name
                                                     When was the debt incurred?        03/1994
Attn: Bankruptcy
Number        Street                                 As of the date you file, the claim is: Check all that apply.
PO Box 9000                                              Contingent
                                                         Unliquidated
                                                         Disputed
Wiles-Barr                    PA      18773
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F           Case 18-22492      Doc#
                                        Schedule E/F:     1 Who
                                                      Creditors Filed 12/02/18
                                                                    Have            Page 37 of 95
                                                                         Unsecured Claims                                         page 11
Debtor 1       John Leonard Lentell                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.20                                                                                                                           $253.45
Overland Park Regional Medical Center                Last 4 digits of account number      3 2        6    0
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2018
10500 Quivira Road,
Number        Street                                 As of the date you file, the claim is: Check all that apply.
Overland Park, KS.66215                                  Contingent
                                                         Unliquidated
                                                         Disputed

City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical
Is the claim subject to offset?
     No
     Yes

  4.21                                                                                                                           $428.01
Quest Diagnostics                                    Last 4 digits of account number       5    6    8    1
Nonpriority Creditor's Name
                                                     When was the debt incurred?
Accounts Receivable Bankruptcy Notice
Number        Street                                 As of the date you file, the claim is: Check all that apply.
500 Plaza Drive                                          Contingent
                                                         Unliquidated
                                                         Disputed
Secaucus                      NJ      07094
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Services
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                           $274.00
RSH & Associates, Llc                                Last 4 digits of account number      0 0        4    3
Nonpriority Creditor's Name
                                                     When was the debt incurred?        11/2015
Attn: Bankruptcy
Number        Street                                 As of the date you file, the claim is: Check all that apply.
PO Box 14515                                             Contingent
                                                         Unliquidated
                                                         Disputed
Lenexa                        KS      66285
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collection Attorney
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F           Case 18-22492      Doc#
                                        Schedule E/F:     1 Who
                                                      Creditors Filed 12/02/18
                                                                    Have            Page 38 of 95
                                                                         Unsecured Claims                                         page 12
Debtor 1       John Leonard Lentell                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.23                                                                                                                             $0.00
Synchrony Bank/ JC Penneys                           Last 4 digits of account number      0 7 6           7
Nonpriority Creditor's Name
                                                     When was the debt incurred?        11/09/1987
Attn: Bankruptcy Dept
Number        Street                                 As of the date you file, the claim is: Check all that apply.
PO Box 965060                                            Contingent
                                                         Unliquidated
                                                         Disputed
Orlando                       FL      32896
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Charge Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F           Case 18-22492      Doc#
                                        Schedule E/F:     1 Who
                                                      Creditors Filed 12/02/18
                                                                    Have            Page 39 of 95
                                                                         Unsecured Claims                                         page 13
Debtor 1       John Leonard Lentell                                                        Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


American Medical Collections                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Bankruptcy Department                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Collecting for -
4 Westchester Plz Ste. 110                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       2    8    0    1
Elmsford                        NY      10523
City                            State   ZIP Code
LabCorp

Attorney General                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Justice Building                                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         US Government Notice
950 Pennsylvania Ave. NW Room 5111                                                              Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Washington                      DC      20530
City                            State   ZIP Code


Capital One Visa                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Bankruptcy Department                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card
11011 West Broad Street                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Richmond                        VA      23233
City                            State   ZIP Code


Carondelet Orthopedic Surgeons                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
10777 Nall Ave # 300                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Medical Services                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Leawood                         KS      66211
City                            State   ZIP Code

RSH & Associates

CitiFinancial                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
300 St. Paul Place                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       6    9    7    5
Baltimore                       MD      21202
City                            State   ZIP Code




Official Form 106E/F           Case 18-22492      Doc#
                                        Schedule E/F:     1 Who
                                                      Creditors Filed 12/02/18
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                                                                         Unsecured Claims                                                    page 14
Debtor 1      John Leonard Lentell                                             Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Client Services, Inc.                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3451 Harry S. Truman Blvd.                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              LOC                                 Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number       0    2    3    3
St. Charles                MO      63301
City                       State   ZIP Code
Chase

Department of Education                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
50 United Nations Plz, Ste1200                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Student Loan                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number
San Francisco              CA      94102-4918
City                       State   ZIP Code


Dr. Steven Thomas                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2800 Metcalf Ave #2                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Dental Services                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number       2    8    5    5
Overland Park              KS      66213
City                       State   ZIP Code
Kansas Counselors

FBCS Inc                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
330 S Warminster Road                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Collecting for -
Suite 353                                                                           Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number
Hatboro                    PA      19040
City                       State   ZIP Code

National Scouting Report

HCA Midwest Health                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Accounts Receivable Bankruptcy Notice           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Medical
PO Box 740760                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number
Cincinnati                 OH      45274-0760
City                       State   ZIP Code

Overland Park Regional
Research Medical




Official Form 106E/F      Case 18-22492      Doc#
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                                                 Creditors Filed 12/02/18
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                                                                    Unsecured Claims                                            page 15
Debtor 1      John Leonard Lentell                                             Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

LCA Collections                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 2240                                     Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Collecting for -                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number       4    4    0    1
Burlington                 NC      27216-2240
City                       State   ZIP Code
Lab Corp of America

Milsap & Singer, PC                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
612 Spirit Dr.                                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Collection Attorney                 Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number       5    2    4    4
Chesterfield               MO      63005-1259
City                       State   ZIP Code

Rushmore Loan Management Services
MTGLQ Investors, LP

MRS BPO LLC                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1930 Olney Avenue                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Collecting for -                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number       8    2    9    8
Cherry Hill                NJ      08003
City                       State   ZIP Code

Chase

MTGLQ Investors, LP                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
6011 Connection Drive                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Mortgage                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number
Irving                     TX      75039
City                       State   ZIP Code

Rushmore Loan Management Services
Millsap & Singer

Nationwide Credit, Inc.                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P. O. Box 14581                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Collecting for -                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number       0    5    1    0
Des Moines                 IA      50406-4581
City                       State   ZIP Code

Chase




Official Form 106E/F      Case 18-22492      Doc#
                                   Schedule E/F:     1 Who
                                                 Creditors Filed 12/02/18
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                                                                    Unsecured Claims                                            page 16
Debtor 1     John Leonard Lentell                                              Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

NPAS Solutions                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 2248                                     Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Collecting for -                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number
Maryland Heights           MO      63043-1048
City                       State   ZIP Code


Radius Global Solutions                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
50 West Skippack Pike                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Collecting for -                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number
Ambler                     PA      19002
City                       State   ZIP Code


Sure Check Brokerage                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 1906                                     Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              NSF
141 S. 4th St.                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number
Salina                     KS      67402-1334
City                       State   ZIP Code
Genesis Health Club

US Bank National Association                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
80 S 8th Street, Ste 224                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Business Checking                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                Account
                                                Last 4 digits of account number
Minneapolis                MN      55402
City                       State   ZIP Code


US Bank National Association                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
as Trustee for the RMAC Trust,                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Mortgage
Series 2012-3T                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

80 S 8th Street, Ste 224
                                                Last 4 digits of account number
Minneapolis                MN      55402
City                       State   ZIP Code

Rushmore Loan Management Services

Wells Fargo Visa                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Bankruptcy Department                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                              Credit Card
PO Box 3908                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                Last 4 digits of account number
Portland                   OR      97208-3908
City                       State   ZIP Code




Official Form 106E/F       Case 18-22492      Doc#
                                    Schedule E/F:     1 Who
                                                  Creditors Filed 12/02/18
                                                                Have            Page 43 of 95
                                                                     Unsecured Claims                                           page 17
Debtor 1       John Leonard Lentell                                                    Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.             $82,083.55

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.      Add lines 6a through 6d.                                           6d.             $82,083.55




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.             $74,111.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $43,629.30


                  6j.   Total.    Add lines 6f through 6i.                                           6j.            $117,740.30




Official Form 106E/F             Case 18-22492      Doc#
                                          Schedule E/F:     1 Who
                                                        Creditors Filed 12/02/18
                                                                      Have            Page 44 of 95
                                                                           Unsecured Claims                                          page 18
 Fill in this information to identify your case:
 Debtor 1             John                  Leonard                Lentell
                      First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      American Arbitration Association                                             Express or implied arbitration agreement
          Name                                                                         Contract to be REJECTED
          39555 Orchard Hill Place, Suite 140
          Number    Street



          Novi                                         MI        48375-5523
          City                                         State     ZIP Code

 2.2      Genesis Health Clubs Inc.                                                    Gym
          Name                                                                         Contract to be REJECTED
          6100 East Central
          Number    Street



          Wichita                                      KS        67208
          City                                         State     ZIP Code

 2.3      JAMS                                                                         Express or implied arbitration agreement
          Name                                                                         Contract to be REJECTED
          18881 Von Karman Ave STE 350
          Number    Street



          Irvine                                       CA        92612-6589
          City                                         State     ZIP Code

 2.4      National Arbitration Forum                                                   Express or implied arbitration agreement
          Name                                                                         Contract to be REJECTED
          PO Box 50191
          Number    Street



          Minneapolis                                  MN        55405-0191
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                                   Case 18-22492               Doc# 1       Filed 12/02/18           Page 45 of 95
 Fill in this information to identify your case:
 Debtor 1            John                 Leonard                 Lentell
                     First Name           Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number
                                                                                                                         Check if this is an
 (if known)
                                                                                                                         amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                              Check all schedules that apply:

3.1      Wife
         Name                                                                                       Schedule D, line        2.1
         2844 W 138th Terrace                                                                       Schedule E/F, line
         Number      Street
                                                                                                    Schedule G, line

         Leawood                                   KS             66224                       Internal Revenue Service
         City                                      State          ZIP Code


3.2      Wife
         Name                                                                                       Schedule D, line
         2844 W 138th Terrace                                                                       Schedule E/F, line
         Number      Street
                                                                                                                             4.19
                                                                                                    Schedule G, line

         Leawood                                   KS             66224                       Navient
         City                                      State          ZIP Code




Official Form 106H                                          Schedule H: Your Codebtors                                                         page 1
                                  Case 18-22492            Doc# 1         Filed 12/02/18             Page 46 of 95
Debtor 1      John Leonard Lentell                                        Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                                Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.3    Spouse Name Not Entered
       Name                                                                         Schedule D, line

                                                                                    Schedule E/F, line     1
       Number        Street
                                                                                    Schedule G, line
                                                                              IRS
       City                              State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                              page 2
                              Case 18-22492      Doc# 1     Filed 12/02/18           Page 47 of 95
 Fill in this information to identify your case:
     Debtor 1              John                 Leonard               Lentell
                           First Name           Middle Name           Last Name                           Check if this is:
     Debtor 2                                                                                                  An amended filing
     (Spouse, if filing)   First Name           Middle Name           Last Name
                                                                                                               A supplement showing postpetition
     United States Bankruptcy Court for the:   DISTRICT OF KANSAS
                                                                                                               chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                               MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                            Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status            Employed                                           Employed
      with information about                                         Not employed                                       Not employed
      additional employers.
                                        Occupation            Attorney                                           Physician-Medical Director
      Include part-time, seasonal,
      or self-employed work.            Employer's name       John L. Lentell JD MBC LLC                         Blue Cross Blue Shield

      Occupation may include            Employer's address    2844 W 138th Terrace                               2301 Main Street
      student or homemaker, if it                             Number Street                                      Number Street
      applies.




                                                              Leawood                      KS      66224         Kansas City            MO      64108
                                                              City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?       15 years                                          6 months

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                           For Debtor 1            For Debtor 2 or
                                                                                                                   non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                    $0.00             $20,000.02
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                     3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                4.                  $0.00             $20,000.02




Official Form 106I                                          Schedule I: Your Income                                                                 page 1
                               Case 18-22492              Doc#  1 Filed 12/02/18                       Page 48 of 95
Debtor 1        John Leonard Lentell                                                                                                  Case number (if known)
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00      $20,000.02
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00            $5,398.68
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00            $2,000.01
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                $0.00
     5e. Insurance                                                                                              5e.                  $0.00             $362.29
     5f. Domestic support obligations                                                                           5f.                  $0.00                $0.00
     5g. Union dues                                                                                             5g.                  $0.00                $0.00
     5h. Other deductions.
          Specify: Taxes / HSA                                                                                  5h. +            $750.00                $318.04
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.               $750.00              $8,079.02
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.             ($750.00)             $11,921.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $4,596.53                    $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00                 $0.00
     8e. Social Security                                                                                        8e.                  $0.00                 $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                 $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                 $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                 $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $4,596.53                    $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $3,846.53 +        $11,921.00 =                                                      $15,767.53
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.          $15,767.53
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor's legal services focus on real estate assessments. 2019 will be a reassessment year and
        Yes. Explain: debtor expects income to double by the end of 2019. NOTE wife and husband are have recently
                                 returned to full time work due to mitigating health circumstances.


Official Form 106I                                                              Schedule I: Your Income                                                                            page 2
                                       Case 18-22492                          Doc#  1 Filed 12/02/18                                    Page 49 of 95
Debtor 1     John Leonard Lentell                                       Case number (if known)

8a. Attached Statement (Debtor 1)

                                                   Attorney

Gross Monthly Income:                                                                            $5,710.00

Expense                                         Category                               Amount

Est Taxes monthly for IRS                                                             $750.00
Mailbox                                                                                $75.00
Biz Phone                                                                              $46.39
Research                                                                               $50.00
Bar Dues                                                                               $67.08
Supplies                                                                              $100.00
Parking                                                                                $25.00
Total Monthly Expenses                                                                           $1,113.47

Net Monthly Income:                                                                              $4,596.53




Official Form 106I                            Schedule I: Your Income                               page 3
                            Case 18-22492   Doc#  1 Filed 12/02/18       Page 50 of 95
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              John                   Leonard                Lentell                             An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    DISTRICT OF KANSAS                                             MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                   Daughter                           15
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                           Schedule J: Your Expenses                                                          page 1
                                 Case 18-22492               Doc# 1 Filed 12/02/18                     Page 51 of 95
Debtor 1      John Leonard Lentell                                                          Case number (if known)

                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.

     6b. Water, sewer, garbage collection                                                                  6b.

     6c. Telephone, cell phone, Internet, satellite, and           (See continuation sheet(s) for details) 6c.                    $392.78
         cable services
     6d. Other. Specify:                                                                                   6d.

7.   Food and housekeeping supplies                                (See continuation sheet(s) for details) 7.                     $750.00
8.   Childcare and children's education costs                      (See continuation sheet(s) for details) 8.                    $2,708.64
9.   Clothing, laundry, and dry cleaning                           (See continuation sheet(s) for details) 9.                     $282.89
10. Personal care products and services                            (See continuation sheet(s) for details) 10.                    $400.00
11. Medical and dental expenses                                                     (Medical and Dental) 11.                      $300.00
12. Transportation. Include gas, maintenance, bus or train         (See continuation sheet(s) for details) 12.                    $347.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                    $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.                    $800.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.                   $150.00
     15b.   Health insurance                                                                               15b.

     15c.   Vehicle insurance                                                                              15c.                    $52.89
     15d.   Other insurance. Specify:                                                                      15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify: Personal Property Tax                                                                         16.                     $33.33
17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    to Wife's parents for use of vehicle                             17a.                   $250.00
     17b.   Car payments for Vehicle 2                                                                     17b.

     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify:                                                                                17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.




 Official Form 106J                                         Schedule J: Your Expenses                                                page 2
                               Case 18-22492               Doc# 1 Filed 12/02/18              Page 52 of 95
Debtor 1      John Leonard Lentell                                                             Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.        $6,567.53
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.        $6,567.53

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $15,767.53
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –    $6,567.53
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.        $9,200.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                Cost of living - may purchase parent's car instead of renting it from them. Just starting in December 2018.




 Official Form 106J                                         Schedule J: Your Expenses                                        page 3
                                Case 18-22492              Doc# 1 Filed 12/02/18                Page 53 of 95
Debtor 1     John Leonard Lentell                                                   Case number (if known)


6c. Telephone, cell phone, Internet, satellite, and cable services (details):
     Cellular                                                                                                 $300.00
     Internet                                                                                                  $46.39
     Cable                                                                                                     $46.39

                                                                                          Total:              $392.78


7.   Food and housekeeping supplies (details):
     Pet Food/Veterinary                                                                                       $50.00
     Human Food                                                                                               $700.00

                                                                                          Total:              $750.00


8.   Childcare and children's education costs (details):
     Barstow                                                                                                 $2,608.64
     Child Swim Team                                                                                          $100.00

                                                                                          Total:             $2,708.64


9.   Clothing, laundry, and dry cleaning (details):
     Husband and Child                                                                                        $132.89
     Wife Clothings - Physician                                                                               $150.00

                                                                                          Total:              $282.89


10. Personal care products and services (details):
     Misc. items, personal care & housekeeping                                                                $300.00
     Wife biz fees                                                                                            $100.00

                                                                                          Total:              $400.00


12. Transportation (details):
     1 tank per week - $30 Husband                                                                            $130.00
     1 tank per week - $50 - wife                                                                             $217.00

                                                                                          Total:              $347.00




 Official Form 106J                                     Schedule J: Your Expenses                                page 4
                            Case 18-22492              Doc# 1 Filed 12/02/18         Page 54 of 95
 Fill in this information to identify your case:
 Debtor 1                John                          Leonard                       Lentell
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $670,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $29,737.70
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $699,737.70
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $967,811.36
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        $82,083.55
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $117,740.30
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                      $1,167,635.21




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                       $15,767.53
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $6,567.53




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
                                      Case 18-22492                         Doc# 1              Filed 12/02/18                     Page 55 of 95
Debtor 1      John Leonard Lentell                                                         Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                    $23,752.87


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                  $82,083.55


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


     9d. Student loans. (Copy line 6f.)                                                                         $74,111.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.    Add lines 9a through 9f.                                                                   $156,194.55




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                              Case 18-22492               Doc# 1         Filed 12/02/18            Page 56 of 95
 Fill in this information to identify your case:
 Debtor 1           John                 Leonard             Lentell
                    First Name           Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name         Last Name


 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ John Leonard Lentell                             X
        John Leonard Lentell, Debtor 1                         Signature of Debtor 2

        Date 12/02/2018                                        Date
             MM / DD / YYYY                                            MM / DD / YYYY




Official Form 106Dec                         Declaration About an Individual Debtor's Schedules                                        page 1
                                  Case 18-22492        Doc# 1         Filed 12/02/18        Page 57 of 95
 Fill in this information to identify your case:
 Debtor 1           John                  Leonard                Lentell
                    First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
                                  Case 18-22492          Doc# 1         Filed 12/02/18             Page 58 of 95
Debtor 1       John Leonard Lentell                                                      Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                         Debtor 2

                                                  Sources of income          Gross income           Sources of income         Gross income
                                                  Check all that apply.      (before deductions     Check all that apply.     (before deductions
                                                                             and exclusions                                   and exclusions

From January 1 of the current year until              Wages, commissions,            $62,817.53        Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                    bonuses, tips
                                                      Operating a business                             Operating a business


For the last calendar year:                           Wages, commissions,            $95,653.54        Wages, commissions,
                                                      bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                             Operating a business


For the calendar year before that:                    Wages, commissions,          $105,886.47         Wages, commissions,
                                                      bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2016 )
                                  YYYY                Operating a business                             Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                         Debtor 2

                                                  Sources of income           Gross income          Sources of income          Gross income
                                                  Describe below.             from each source      Describe below.            from each source
                                                                              (before deductions                               (before deductions
                                                                              and exclusions                                   and exclusions

From January 1 of the current year until
the date you filed for bankruptcy:



For the last calendar year:
(January 1 to December 31, 2017 )
                                YYYY



For the calendar year before that:
(January 1 to December 31, 2016 )
                                YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
                                 Case 18-22492            Doc# 1          Filed 12/02/18           Page 59 of 95
Debtor 1         John Leonard Lentell                                                          Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
Bank of Blue Valley                                                                $900.00            $29,000.00             Mortgage
Creditor's name                                                                                                              Car
                                                               9/1/18
11935 Riley Street                                                                                                           Credit card
Number      Street                                             10/1/18
                                                               11/1/18                                                       Loan repayment
                                                                                                                             Suppliers or vendors
Overland Park                        KS       66213                                                                          Other Personal Loan
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 3
                                  Case 18-22492               Doc# 1         Filed 12/02/18            Page 60 of 95
Debtor 1       John Leonard Lentell                                                          Case number (if known)

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                Nature of the case                          Court or agency                               Status of the case
MTGLQ Investors, LP v. John L. foreclosure                                            Johnson County, KS
                                                                                                                                              Pending
Lentell, et al.                summary judgment                                       Court Name
                                                                                                                                              On appeal
                                                                                      Number     Street
Case number 16CV05244                                                                                                                         Concluded


                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
Kansas Dept of Revenue v.                 Lien is paid
                                                                                                                                              Pending
Lentell et al                                                                         Court Name
                                                                                                                                              On appeal
                                                                                      Number     Street
Case number 13TW00618                                                                                                                         Concluded


                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
Kansas Dept of Revenue v.                 Lien is paid
                                                                                                                                              Pending
Lentell et al                                                                         Court Name
                                                                                                                                              On appeal
                                                                                      Number     Street
Case number 10TW01337                                                                                                                         Concluded


                                                                                      City                       State   ZIP Code




Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
                                 Case 18-22492             Doc# 1         Filed 12/02/18            Page 61 of 95
Debtor 1         John Leonard Lentell                                                       Case number (if known)

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities                                  Describe what you contributed            Date you          Value
that total more than $600                                            tithing                                  contributed
Church of the Resurrection
Charity's Name                                                       $200 per week
13720 Roe Boulevard
Number     Street




Leawood                                  KS          66224
City                                     State       ZIP Code

Gifts or contributions to charities                                  Describe what you contributed            Date you          Value
that total more than $600                                            2018 Pledge one time gift                contributed
United Methodist Women                                                                                               10/23/18
Charity's Name

13720 Roe Boulevard
Number     Street




Leawood                                  KS          66224
City                                     State       ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 5
                                 Case 18-22492                  Doc# 1         Filed 12/02/18        Page 62 of 95
Debtor 1       John Leonard Lentell                                                        Case number (if known)

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment        Amount of
Rachel Lynn Foley                                    1110 atty fees                                             or transfer was     payment
Person Who Was Paid                                  310 ff                                                     made

4016 S. Lynn Crt. Drive Ste. B                       40 cr                                                         12/02/2018           $1,500.00
Number      Street                                   20 cc
                                                     20 fm


Independence                  MO       64055
City                          State    ZIP Code

clients@kcbankruptcy.com
Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment        Amount of
Jordan Schwartz                                      Attorney to negotiate foreclosure                          or transfer was     payment
Person Who Was Paid                                                                                             made


Number      Street




City                          State    ZIP Code




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6
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Debtor 1        John Leonard Lentell                                                        Case number (if known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or           Date account         Last balance
                                                      number                       instrument                   was closed,          before closing
                                                                                                                sold, moved,         or transfer
                                                                                                                or transferred
US Bank
Name of Financial Institution
                                                      XXXX-                            Checking                     May 2018               $0.00
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other

City                            State   ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
                                   Case 18-22492            Doc# 1        Filed 12/02/18            Page 64 of 95
Debtor 1       John Leonard Lentell                                                    Case number (if known)

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 8
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Debtor 1       John Leonard Lentell                                                            Case number (if known)

  Part 11:       Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

                                                 Describe the nature of the business                 Employer Identification number
Lentell Law Firm                                 Law Firm                                            Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN:           –
2844 W 138th Terrace                             John L Lentell JD MBA LLC
Number     Street
                                                 Name of accountant or bookkeeper                    Dates business existed

                                                                                                     From       2/7/06        To   perpetual
Leawood                   KS      66224
City                      State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

                                                             Date issued
Rushmore Loan Management Services
Name

60 Livingston Avenue
Number     Street




St. Paul                           MN        55107
City                               State     ZIP Code

                                                             Date issued
Bank of Blue Valley
Name

11935 Riley Street
Number     Street




Overland Park                      KS        66213
City                               State     ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 9
                                  Case 18-22492              Doc# 1          Filed 12/02/18             Page 66 of 95
Debtor 1     John Leonard Lentell                                                   Case number (if known)

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ John Leonard Lentell                            X
   John Leonard Lentell, Debtor 1                         Signature of Debtor 2

   Date     12/02/2018                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 10
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
                        Case 18-22492          Doc# 1        Filed 12/02/18        Page 68 of 95
    most fines, penalties, forfeitures, and criminal               for your state of residence and family size, depending
    restitution obligations; and                                   on the results of the Means Test, the U.S. trustee,
                                                                   bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy           dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                        Code. If a motion is filed, the court will decide if your
                                                                   case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:                choose to proceed under another chapter of the
                                                                   Bankruptcy Code.
    fraud or theft;
                                                                   If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                   trustee may sell your property to pay your debts, subject
    capacity;
                                                                   to your right to exempt the property or a portion of the
                                                                   proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                   and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor           trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from            called exempt property. Exemptions may enable you to
    alcohol or drugs.                                              keep your home, a car, clothing, and household items or
                                                                   to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have              Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You             must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly              Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing      property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine           proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                   Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                    $1,167    filing fee
122A-2).                                                                 $550    administrative fee
                                                                   +
If your income is above the median for your state, you must            $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--             Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your                 is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to            11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                  page 2
                          Case 18-22492            Doc# 1       Filed 12/02/18      Page 69 of 95
        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $75   administrative fee
                                                                After you make all the payments under your plan, many
        $275   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $75    administrative fee
                                                                     most criminal fines and restitution obligations,
          $310    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                  A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                                called a joint case. If you file a joint case and each
                                                                  spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires               bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about               mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses           unless you file a statement with the court asking that
  and general financial condition. The court may                  each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                             Understand which services you could
                                                                  receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                  The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms                counseling briefing from an approved credit counseling
  .html#procedure.                                                agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                  case, both spouses must receive the briefing. With
                                                                  limited exceptions, you must receive it within the 180
                                                                  days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                    briefing is usually conducted by telephone or on the
consequences                                                      Internet.

    If you knowingly and fraudulently conceal assets or           In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of               must complete a financial management instructional
    perjury--either orally or in writing--in connection with      course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or           filing a joint case, both spouses must complete the
    both.                                                         course.

                                                                  You can obtain the list of agencies approved to provide
    All information you supply in connection with a               both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the             http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department            In Alabama and North Carolina, go to:
    of Justice.                                                   http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                  ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                           If you do not have access to a computer, the clerk of the
                                                                  bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                page 4
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF KANSAS
                                                                KANSAS CITY DIVISION
In re John Leonard Lentell                                                                                                          Case No.

                                                                                                                                    Chapter            13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $4,100.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $1,110.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                 $2,990.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Mailing costs for the intial Plan and all mailings associated with post-confirmation work.

   Services unrelated to this bankruptcy case, adversary proceedings, appeals, conversions, and post-confirmation
   services as allowed under Local Rule 2016-1(F).

   Note: Fees for postconfirmation services are subject to court approval, based on the schedule contained in Local
   Rule 2016-1, or based on actual time records submitted by the attorney for any other matters related to this case.




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   12/02/2018                         /s/ Rachel Lynn Foley
                      Date                            Rachel Lynn Foley                          Bar No. 47121
                                                      Foley Law
                                                      4016 S. Lynn Court Drive, Ste. B
                                                      Independence, MO 64055
                                                      Phone: (816) 472-4357 / Fax: (888) 876-1591




    /s/ John Leonard Lentell
   John Leonard Lentell




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                                      UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF KANSAS
                                            KANSAS CITY DIVISION
  IN RE:   John Leonard Lentell                                                     CASE NO

                                                                                   CHAPTER       13

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 12/2/2018                                           Signature    /s/ John Leonard Lentell
                                                                     John Leonard Lentell



Date                                                     Signature




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           American Arbitration Association
           39555 Orchard Hill Place, Suite 140
           Novi, MI 48375-5523



           American Medical Collections
           Attn: Bankruptcy Department
           4 Westchester Plz Ste. 110
           Elmsford, NY 10523


           American Profit Recovery
           Attn: Bankruptcy
           34505 W 12 Mile Road #333
           Farmington Hills, MI 48331


           Attorney General
           Justice Building
           950 Pennsylvania Ave. NW Room 5111
           Washington, DC 20530


           Bank of Blue Valley
           P.O. Box 26128
           Overland Park, KS 66225-6128



           Capital One Visa
           Bankruptcy Department
           11011 West Broad Street
           Richmond, VA 23233


           Carondelet Orthopedic Surgeons
           10777 Nall Ave # 300
           Leawood, KS 66211



           Central Credit Services, Inc.
           9550 Regency Square Blvd
           Suite #500
           Jacksonville, FL 32239


           Chase Bank Visa
           PO Box 15298
           Wilmington, DE 19850




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           CitiFinancial
           300 St. Paul Place
           Baltimore, MD 21202



           Client Services, Inc.
           3451 Harry S. Truman Blvd.
           St. Charles, MO   63301



           Department of Education
           50 United Nations Plz, Ste1200
           San Francisco, CA 94102-4918



           Dillards Card Srvs/Wells Fargo Bank Na
           PO Box 10347
           Des Moines, IA 50306



           Discover Financial
           PO Box 3025
           New Albany, OH 43054



           Dr. Steven Thomas
           2800 Metcalf Ave #2
           Overland Park, KS 66213



           FBCS Inc
           330 S Warminster Road
           Suite 353
           Hatboro, PA 19040


           Federal Employees Cu
           CommunityAmerica Credit Union/Attn: Bank
           PO Box 15950
           Lenexa, KS 66285


           Genesis Health Clubs Inc.
           6100 East Central
           Wichita, KS 67208




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           HCA Midwest Health
           Accounts Receivable Bankruptcy Notice
           PO Box 740760
           Cincinnati, OH 45274-0760


           Internal Revenue Service
           Centralized Insolvency Operations
           P.O. Box 7346
           Philadelphia, PA 19101-7346


           Internal Revenue Service
           Centralized Insolvency Operations
           PO Box 7346
           Philadelphia PA 19101-7346


           IRS
           Bankruptcy Unit
           M/S 5334-LSM
           2850 NE Independence Ave, STE 101
           Lees Summit, MO 64064-2327

           JAMS
           18881 Von Karman Ave STE 350
           Irvine, CA 92612-6589



           Johnson County Treasurer
           111 S. Cherry St. Ste 1500
           Olathe, KS 66061



           Johnson County Wastewater
           PO Box 219948
           Kansas City, MO 64121-9948



           Jordan Schwartz Law Office
           10955 Lowell Avenue
           Suite 630
           Overland Park, KS 66210


           Kansas Counselors Of Kansas
           Attn: Bankruptcy
           PO BOX 14765
           Shawnee Mission, KS 66285




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           Kansas Department of Revenue
           Civil Tax Enforcement/Banruptcy Dept.
           PO Box 12005
           Topeka, Kansas 66612


           Laboratory Corp of America
           PO Box 2240
           Burlington, NC 27216-2240



           LCA Collections
           PO Box 2240
           Burlington, NC 27216-2240



           Milsap & Singer, PC
           612 Spirit Dr.
           Chesterfield, MO 63005-1259



           MRS BPO LLC
           1930 Olney Avenue
           Cherry Hill, NJ 08003



           MTGLQ Investors, LP
           6011 Connection Drive
           Irving, TX 75039



           National Arbitration Forum
           PO Box 50191
           Minneapolis, MN 55405-0191



           National Scouting Report Inc.
           128 Total Solutions Way
           Alabaster, AL 35007



           Nationwide Credit, Inc.
           P. O. Box 14581
           Des Moines, IA 50406-4581




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           Navient
           Attn: Bankruptcy
           PO Box 9000
           Wiles-Barr, PA 18773


           NPAS Solutions
           PO Box 2248
           Maryland Heights, MO     63043-1048



           Overland Park Regional Medical Center
           10500 Quivira Road,
           Overland Park, KS.66215



           Quest Diagnostics
           Accounts Receivable Bankruptcy Notice
           500 Plaza Drive
           Secaucus, NJ 07094


           Radius Global Solutions
           50 West Skippack Pike
           Ambler, PA 19002



           RSH & Associates, Llc
           Attn: Bankruptcy
           PO Box 14515
           Lenexa, KS 66285


           Rushmore Lms
           Attn: Bankruptcy
           PO Box 55004
           Irvine, CA 92619


           Santander Consumer USA
           Attn: Bankruptcy
           PO Box 961245
           Fort Worth, TX 76161


           Sure Check Brokerage
           PO Box 1906
           141 S. 4th St.
           Salina, KS 67402-1334




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           Synchrony Bank/ JC Penneys
           Attn: Bankruptcy Dept
           PO Box 965060
           Orlando, FL 32896


           US Attorney
           Attn: Bankruptcy Processing Clerk
           500 State Ave # 360
           Kansas City, KS 66101


           US Bank National Association
           as Trustee for the RMAC Trust,
           Series 2012-3T
           80 S 8th Street, Ste 224
           Minneapolis, MN 55402

           US Bank National Association
           80 S 8th Street, Ste 224
           Minneapolis, MN 55402



           Wells Fargo Visa
           Bankruptcy Department
           PO Box 3908
           Portland, OR 97208-3908


           Wife
           2844 W 138th Terrace
           Leawood, KS 66224




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 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1           John                    Leonard               Lentell                    According to the calculations required by this
                    First Name              Middle Name           Last Name                  Statement:

 Debtor 2                                                                                       1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name           Last Name                        under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: DISTRICT OF KANSAS                                        under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                           $0.00         $18,561.60
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse.                     $0.00                $0.00

4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Do not include payments from a
     spouse. Do not include payments you listed on line 3.

5.   Net income from operating a business, profession, or farm

                                               Debtor 1           Debtor 2
     Gross receipts (before all                  $5,191.27                  $0.00
     deductions)
     Ordinary and necessary operating      –          $0.00   –             $0.00
     expenses                                                                       Copy
     Net monthly income from a business,         $5,191.27                  $0.00 here       $5,191.27                 $0.00
     profession, or farm




Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                    page 1
                                  Case   18-22492 Doc# 1 Filed 12/02/18 Page 81 of 95
Debtor 1          John Leonard Lentell                                                                                                 Case number (if known)

                                                                                                                                           Column A        Column B
                                                                                                                                           Debtor 1        Debtor 2 or
                                                                                                                                                           non-filing spouse

6.    Net income from rental and other real property

                                                                 Debtor 1                       Debtor 2
      Gross receipts (before all                                             $0.00                           $0.00
      deductions)
      Ordinary and necessary operating                      –                $0.00          –                $0.00
      expenses                                                                                                            Copy
      Net monthly income from rental or                                      $0.00                           $0.00 here                            $0.00            $0.00
      other real property

7.    Interest, dividends, and royalties                                                                                                           $0.00            $0.00
8.    Unemployment compensation                                                                                                                    $0.00            $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                          $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                        $0.00            $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




      Total amounts from separate pages, if any.                                                                                     +                     +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                 $5,191.27      +   $18,561.60   =      $23,752.87
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                               Total average
                                                                                                                                                                               monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                       $23,752.87
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 below.




                                                                                                                      +
             Total......................................................................................................................   $0.00      Copy here                –        $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                       $23,752.87


Official Form 122C-1                       Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                     page 2
                                           Case   18-22492 Doc# 1 Filed 12/02/18 Page 82 of 95
Debtor 1      John Leonard Lentell                                                                                                Case number (if known)

15. Calculate your current monthly income for the year. Follow these steps:

    15a.    Copy line 14 here                                                                                                                                                                           $23,752.87
                                             ...................................................................................................................................................................................

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                X         12

    15b.                                                                                                                                                        $285,034.44
            The result is your current monthly income for the year for this part of the form. .......................................................................................

16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                        Kansas

    16b.    Fill in the number of people in your household.                                                   3

    16c.                                                                                                                                                             $74,092.00
            Fill in the median family income for your state and size of household......................................................................................................................
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
    17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                   On line 39 of that form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                                $23,752.87
                                                                                             ..............................................................................................................................................

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13.

    19a.                                                                                                                                                             –                $0.00
            If the marital adjustment does not apply, fill in 0 on line 19a. .......................................................................................................................

    19b.    Subtract line 19a from line 18.                                                                                                                                                              $23,752.87

20. Calculate your current monthly income for the year. Follow these steps:
    20a.                                                                                                                                                                                          $23,752.87
            Copy line 19b ...................................................................................................................................................................................
            Multiply by 12 (the number of months in a year).                                                                                                                                         X         12
    20b.    The result is your current monthly income for the year for this part of the form.                                                                                                        $285,034.44

    20c.                                                                                                                                                 $74,092.00
            Copy the median family income for your state and size of household from line 16c. .........................................................................................................

21. How do the lines compare?
           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C-1                 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                       page 3
                                     Case   18-22492 Doc# 1 Filed 12/02/18 Page 83 of 95
Debtor 1    John Leonard Lentell                                                         Case number (if known)

 Part 4:      Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X   /s/ John Leonard Lentell                                             X
        John Leonard Lentell, Debtor 1                                           Signature of Debtor 2

        Date 12/2/2018                                                           Date
             MM / DD / YYYY                                                             MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 122C-2.

    If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                         page 4
                            Case   18-22492 Doc# 1 Filed 12/02/18 Page 84 of 95
 Fill in this information to identify your case:
 Debtor 1               John                          Leonard                       Lentell
                        First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                       Middle Name                   Last Name


 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number
 (if known)
                                                                                                                                   Check if this is an amended filing


Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                                              04/16
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and
Calculation of Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5
and 6 of Form 122C-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 122C-1.

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

 5.   The number of people used in determining your deductions from income
      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                               3
      be different from the number of people in your household.


 National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.

 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                    $1,384.00
      fill in the dollar amount for food, clothing, and other items.
 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are
      under 65 and people who are 65 or older--because older people have a higher IRS allowance for health care costs. If
      your actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                      $52.00
      7b. Number of people who are under 65                                         X                  3
                                                                                                              Copy
      7c. Subtotal. Multiply line 7a by line 7b.                                            $156.00           here                           $156.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                    $114.00
      7e. Number of people who are 65 or older                                      X
                                                                                                              Copy
      7f.   Subtotal. Multiply line 7d by line 7e.                                              $0.00         here                +              $0.00
                                                                                                                                                                   Copy
                                                                                                                                              $156.00              here
      7g. Total. Add lines 7c and 7f................................................................................................................................       $156.00


Official Form 122C-2
                                     Case 18-22492 Chapter
                                                     Doc#  13 Calculation of Your Disposable Income
                                                              1 Filed 12/02/18 Page 85 of 95                                                                                  page 1
Debtor 1     John Leonard Lentell                                                            Case number (if known)

 Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

      Housing and utilities -- Insurance and operating expenses
      Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using
 the link specified in the separate instructions for this form. This chart may also be available at the
 bankruptcy clerk's office.

 8.    Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,              $618.00
       fill in the dollar amount listed for your county for insurance and operating expenses.

 9.    Housing and utilities -- Mortgage or rent expenses:

       9a. Using the number of people you entered in line 5, fill in the dollar amount listed            $1,438.00
           for your county for mortgage or rent expenses.

       9b. Total average monthly payment for all mortgages and other debts secured by
           your home.

            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Next divide by 60.

             Name of the creditor                                 Average monthly
                                                                  payment

            Rushmore Lms                                            $3,910.00



                                                              +
                                                                                                                   Repeat this
                                                                                    Copy                           amount on
            9b. Total average monthly payment                       $3,910.00       here           –     $3,910.00 line 33a.

       9c. Net mortgage or rent expense.
                                                                                                                      Copy
            Subtract line 9b (total average monthly payment) from line 9a (mortgage or                       $0.00    here         $0.00
            rent expense). If this number is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

       Explain
       why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                 $196.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 122C-2
                              Case 18-22492 Chapter
                                              Doc#  13 Calculation of Your Disposable Income
                                                       1 Filed 12/02/18 Page 86 of 95                                               page 2
Debtor 1      John Leonard Lentell                                                                           Case number (if known)

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1         Describe Vehicle 1:          2013 Nissan Pathfinder (approx. 70,000 miles)



                                                                                                                           $497.00
      13a. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13b. Average monthly payment for all debts secured by Vehicle 1.

            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all
            amounts that are contractually due to each secured creditor in the 60 months
            after you file for bankruptcy. Then divide by 60.


              Name of each creditor for Vehicle 1                            Average monthly
                                                                             payment


            Santander Consumer USA                                                 $422.72

                                                                         +
                                                                                                                                      Repeat this
                                                                                                   Copy                               amount on
                                Total average monthly payment                      $422.72         here                  –    $422.72 line 33b.

                                                                                                                                       Copy net
                                                                                                                                       Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                                                   expense
           Subtract line 13b from line 13a. If this number is less than $0, enter $0. ........................                  $74.28 here                 $74.28

      Vehicle 2         Describe Vehicle 2:




      13d. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

              Name of each creditor for Vehicle 2                            Average monthly
                                                                             payment




                                                                                                                                              Repeat this
                                                                                                   Copy                                       amount on
                                Total average monthly payment                                      here                  –                    line 33c.

                                                                                                                                              Copy net
                                                                                                                                              Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                                                          expense
           Subtract line 13e from 13d. If this number is less than $0, enter $0.                   ........................                   here           $0.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                                  $0.00
     Transportation expense allowance regardless of whether you use public transportation.




Official Form 122C-2
                                  Case 18-22492 Chapter
                                                  Doc#  13 Calculation of Your Disposable Income
                                                           1 Filed 12/02/18 Page 87 of 95                                                                    page 3
Debtor 1       John Leonard Lentell                                                      Case number (if known)

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                                         $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.

 Other Necessary Expenses           In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                    following IRS categories.

 16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-                                $5,400.00
     employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.
     Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                                       $0.00
     union dues, and uniform costs.
     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                                     $150.00
     filing together, include payments that you make for your spouse's term life insurance.
     Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any
     form of life insurance other than term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                                          $0.00
     agency, such as spousal or child support payments.
     Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                                                      $0.00
       as a condition for your job, or
       for your physically or mentally challenged dependent child if no public education is available for similar services.
 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                        $0.00
     Do not include payments for any elementary or secondary school education.
 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                                             $0.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services                            +                $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.
     Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
     expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                                              $7,978.28

 Additional Expense Deductions           These are additional deductions allowed by the Means Test.
                                         Note: Do not include any expense allowances listed in lines 6-24.
 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.

      Health insurance                                          $362.34
      Disability insurance                                        $0.00
      Health savings account                           +        $318.00

      Total                                                     $680.34 Copy total here                                                                        $680.34
                                                                                                 ...........................................................................

      Do you actually spend this total amount?
              No. How much do you actually spend?
              Yes
 26. Continued contributions to the care of household or family members. The actual monthly expenses that you                                                     $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses. These
     expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

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Debtor 1    John Leonard Lentell                                                        Case number (if known)

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                   $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
     By law, the court must keep the nature of these expenses confidential.

 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
     on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in expenses on
      line 8, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                         $0.00
     $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial   +    $800.00
     instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
      Do not include any amount more than 15% of your gross monthly income.
 32. Add all of the additional expense deductions.                                                                               $1,480.34
     Add lines 25 though 31.




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 Deductions for Debt Payment

 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33e.
      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                       Average monthly
                                                                                                                                       payment
              Mortgages on your home
      33a.                                                                                                                                    $3,910.00
              Copy line 9b here............................................................................................................................................................................................
              Loans on your first two vehicles
      33b.                                                                                                                                      $422.72
              Copy line 13b here............................................................................................................................................................................................
      33c.                                                                                                                                          $0.00
              Copy line 13e here............................................................................................................................................................................................
      33d.    List other secured debts:
      Name of each creditor for                                    Identify property that                       Does payment
      other secured debt                                           secures the debt                             include taxes or
                                                                                                                insurance?

      Internal Revenue Service                                     2844 W 138th Terrace                                        No                $3,561.13
                                                                                                                               Yes

      Johnson County Wastewater                                    2844 W 138th Terrace                                        No                     $26.96
                                                                                                                               Yes
                                                                                                                               No
                                                                                                                                        +
                                                                                                                               Yes
                                                                                                                                                                        Copy total
      33e.                                                                                                       $7,920.81
              Total average monthly payment. Add lines 33a through 33d...............................................................                                   here                        $7,920.81

 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

             No. Go to line 35.
             Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                  possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                         Identify property that                             Total cure                                 Monthly cure
                                              secures the debt                                   amount                                     amount

 Rushmore Lms                                 2844 W 138th Terrace                                $143,014.75              ÷ 60 =                $2,383.58

                                                                                                                           ÷ 60 =

                                                                                                                           ÷ 60 =       +
                                                                                                                                                                        Copy total
                                                                                                                             Total               $2,383.58              here                        $2,383.58

 35. Do you owe any priority claims--such as a priority tax, child support, or
     alimony--that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.
             No. Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include
                  current or ongoing priority claims, such as those you listed in line 19.

                                                                                                                              $78,694.55
                     Total amount of all past-due priority claims...................................................................................... ÷ 60 =                                      $1,311.58




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Debtor 1          John Leonard Lentell                                                                                          Case number (if known)

 36. Projected monthly Chapter 13 plan payment                                                                                                     $9,200.00
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or
        by the Executive Office for United States Trustees (for all other districts).

                                                                                                                                               X             10 %
        To find a list of district multipliers that includes your district, go online using the link
        specified in the separate instructions for this form. This list may also be available
        at the bankruptcy clerk's office.

                                                                                                                                                                       Copy total
        Average monthly administrative expense                                                                                                      $920.00            here           $920.00

 37. Add all of the deductions for debt payment.
     Add lines 33g through 36.                                                                                                                                                      $12,535.97

 Total Deductions from Income

 38. Add all of the allowed deductions.
                                                                                                              $7,978.28
        Copy line 24, All of the expenses allowed under IRS expense allowances...........................................................

        Copy line 32, All of the additional expense deductions...............................................................$1,480.34

        Copy line 37, All of the deductions for debt payment.....................................................                       +      $12,535.97
                                                                                                                                                                       Copy total
        Total deductions                                                                                                                       $21,994.59              here         $21,994.59



 Part 2:            Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)
 39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
                                                                                                                                            $23,752.87
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ................................................................

 40. Fill in any reasonably necessary income you receive for support of dependent children.
     The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part 1 of Form 122C-1, that
     you received in accordance with applicable nonbankruptcy law to the extent
     reasonably necessary to be expended for such child.

 41. Fill in all qualified retirement deductions. The monthly total of all amounts that
     your employer withheld from wages as contributions for qualified retirement
     plans, as specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans                                                            $2,000.31
     from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

 42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A).
                                                                                                                                             $21,994.59
     Copy line 38 here.......................................................................................................................................................

 43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special
     circumstances and their expenses. You must give your case trustee a detailed
     explanation of the special circumstances and documentation for the expenses.

          Describe the special circumstances                                               Amount of expense


          Hsbnd monthly tax payment to avoid further debt                                               $750.00



                                                                                            +
                                                                                                                         Copy
                                                                                 Total                  $750.00 here                    +           $750.00




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Debtor 1       John Leonard Lentell                                                                         Case number (if known)

                                                                                                                                                    Copy
                                                                                                                         $24,744.90                                    – $24,744.90
 44. Total adjustments. Add lines 40 through 43..............................................................................................................................
                                                                                                                                                    here


 45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                     ($992.03)

 Part 3:         Change in Income or Expenses
 46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed or are
     virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill in the
     information below. For example, if the wages reported increased after you filed your petition, check 122C-1 in the first column, enter
     line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in the amount of the
     increase.


         Form            Line       Reason for change                                                   Date of change                 Increase or        Amount of change
                                                                                                                                       decrease?

              122C-1                                                                                                                         Increase
              122C-2                                                                                                                         Decrease

              122C-1                                                                                                                         Increase
              122C-2                                                                                                                         Decrease

              122C-1                                                                                                                         Increase
              122C-2                                                                                                                         Decrease

              122C-1                                                                                                                         Increase
              122C-2                                                                                                                         Decrease


 Part 4:         Sign Below

       By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X   /s/ John Leonard Lentell                                                             X
           John Leonard Lentell, Debtor 1                                                           Signature of Debtor 2

           Date 12/2/2018                                                                           Date
                MM / DD / YYYY                                                                              MM / DD / YYYY




Official Form 122C-2
                                   Case 18-22492 Chapter
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                                     Current Monthly Income Calculation Details
In re: John Leonard Lentell                                            Case Number:
                                                                       Chapter:     13

2.    Gross wages, salary, tips, bonuses, overtime and commissions.

 Debtor or Spouse's Income                Description (if available)
                                              6              5            4            3            2          Last       Avg.
                                            Months         Months       Months       Months       Months      Month        Per
                                             Ago            Ago          Ago          Ago          Ago                    Month

Spouse                                    June Forward - started June
                                            $9,230.78 $18,661.75 $27,792.32 $18,561.56 $18,561.54 $18,561.64 $18,561.60

5.    Net income from operating a business, profession or farm.

 Debtor or Spouse's Income                Description (if available)
                                              6              5            4            3            2          Last       Avg.
                                            Months         Months       Months       Months       Months      Month        Per
                                             Ago            Ago          Ago          Ago          Ago                    Month

Debtor                                    Atty
Gross receipts                               $3,000.00     $3,500.00     $1,070.00   $5,427.00     $7,350.63 $10,800.00   $5,191.27
Ordinary/necessary business expenses             $0.00         $0.00         $0.00       $0.00         $0.00      $0.00       $0.00
Business income                              $3,000.00     $3,500.00     $1,070.00   $5,427.00     $7,350.63 $10,800.00   $5,191.27




                           Case
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                                      Underlying Allowances (as of 12/02/2018)
In re: John Leonard Lentell                                            Case Number:
                                                                       Chapter:     13


                                                    Median Income Information
 State of Residence                                                Kansas
 Household Size                                                    3
 Median Income per Census Bureau Data                              $74,092.00



               National Standards: Food, Clothing, Household Supplies, Personal Care, and Miscellaneous
 Region                                                            US
 Family Size                                                       3
 Gross Monthly Income                                              $23,752.87
 Income Level                                                      Not Applicable
 Food                                                              $742.00
 Housekeeping Supplies                                             $63.00
 Apparel and Services                                              $185.00
 Personal Care Products and Services                               $71.00
 Miscellaneous                                                     $323.00
 Additional Allowance for Family Size Greater Than 4               $0.00
 Total                                                             $1,384.00

                       National Standards: Health Care (only applies to cases filed on or after 1/1/08)
 Household members under 65 years of age
 Allowance per member                                              $52.00
 Number of members                                                 3
 Subtotal                                                          $156.00
 Household members 65 years of age or older
 Allowance per member                                              $114.00
 Number of members                                                 0
 Subtotal                                                          $0.00
 Total                                                             $156.00

                                             Local Standards: Housing and Utilities
 State Name                                                        Kansas
 County or City Name                                               Johnson County
 Family Size                                                       Family of 3
 Non-Mortgage Expenses                                             $618.00
 Mortgage/Rent Expense Allowance                                   $1,438.00
 Minus Average Monthly Payment for Debts Secured by Home           $3,910.00
 Equals Net Mortgage/Rental Expense                                $0.00
 Housing and Utilities Adjustment                                  $0.00




                           Case
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                                          Underlying Allowances (as of 12/02/2018)
In re: John Leonard Lentell                                            Case Number:
                                                                       Chapter:     13


                           Local Standards: Transportation; Vehicle Operation/Public Transportation
 Transportation Region                                             Midwest Region
 Number of Vehicles Operated                                       1
 Allowance                                                         $196.00
                           Local Standards: Transportation; Additional Public Transportation Expense
 Transportation Region                                             Midwest Region
 Allowance (if entitled)                                           $178.00
 Amount Claimed                                                    $0.00
                                  Local Standards: Transportation; Ownership/Lease Expense
 Transportation Region                                             Midwest Region
 Number of Vehicles with Ownership/Lease Expense                   1
                                                  First Car                                            Second Car
 Allowance                      $497.00
 Minus Average Monthly
 Payment for Debts              $422.72
 Secured by Vehicle
 Equals Net Ownership /         $74.28
 Lease Expense




                           Case
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